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                   1 LATHAM & WATKINS LLP
                       David J. Schindler (Bar No. 130490)
                   2     david.schindler@lw.com
                       Jonathan M. Jackson (Bar No. 257554)
                   3     jonathan.jackson@lw.com
                       Kendall M. Howes (Bar No. 294285)
                   4     kendall.howes@lw.com
                     355 South Grand Avenue, Suite 100
                   5 Los Angeles, California 90071-1560
                     Telephone: (213) 485-1234
                   6 Facsimile: (213) 891-8763
                   7 Attorneys for Plaintiff the City of Almaty
                   8
                   9                            UNITED STATES DISTRICT COURT
              10                              CENTRAL DISTRICT OF CALIFORNIA
              11
                        CITY OF ALMATY,                           Case No. 2:14-cv-03650-FMO(FFMx)
              12                                                  Consolidated with Case No. 15-cv-02628-
                                          Plaintiff,              FMO
              13
                                v.                                Judge: Hon. Fernando M. Olguin
              14
                        VIKTOR KHRAPUNOV; et al.,                 DECLARATION OF JONATHAN M.
              15                                                  JACKSON IN SUPPORT OF
                                          Defendants.             PLAINTIFF CITY OF ALMATY’S
              16                                                  REQUEST TO STRIKE AND, IN THE
                                                                  ALTERNATIVE, OPPOSITION TO
              17                                                  DEFENDANTS’ MOTION TO
                                                                  DISMISS THE FIRST
              18                                                  CONSOLIDATED AMENDED
                                                                  COMPLAINT FOR LACK OF
              19                                                  PERSONAL JURISDICTION
              20                                                  Plaintiff’s Request to Strike and, in the
                                                                  Alternative, Opposition to Defendants’
              21                                                  Motion to Dismiss the First Consolidated
                                                                  Amended Complaint for Lack of Personal
              22                                                  Jurisdiction and Exhibits Filed Under Seal
                                                                  Pursuant to Court’s Prior Order Filed
              23                                                  Concurrently Herewith
              24                                                  Action Filed:      May 13, 2014
              25                                                  Hearing Date: April 5, 2018
                                                                  Hearing Time: 10:00 a.m.
              26                                                  Courtroom:    6D
              27
              28
                       US-DOCS\99489948                                           DELCARATION OF JONATHAN M. JACKSON
ATTORNEYS AT LAW
  LOS ANGELES
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                   1                       DECLARATION OF JONATHAN M. JACKSON
                   2            I, Jonathan M. Jackson, have personal knowledge of the facts set forth herein
                   3 and, if called to do so, could and would competently testify thereto.
                   4        1.     I am an attorney licensed to practice law in the State of California. I
                   5 am an associate at Latham & Watkins LLP and am counsel for plaintiff the City of
                   6 Almaty (“Plaintiff”) in this matter.
                   7      2.     I submit this declaration in support of Plaintiff City of Almaty’s
                   8 Request to Strike and, in the Alternative, Opposition to Defendants’ Motion to
                   9 Dismiss the First Consolidated Amended Complaint for Lack of Personal
              10 Jurisdiction.
              11        3.     Attached hereto as Exhibit 1 is a true and correct copy of a document
              12 entitled “Deposit Summary” that was produced to my office by Wells Fargo bank
              13 in response to a subpoena in this case, City of Almaty v. Viktor Khrapunov et al.,
              14 No 2:14-cv-03650 FMO-CW (C.D. Cal. 2014) (“Almaty I”) (prior to
              15 consolidation), on June 16, 2015.
              16                4.        Attached hereto as Exhibit 2 (Bates-numbered RPM00002720-
              17 RPM00002721) is a true and correct copy of a document entitled
              18 “Acknowledgement” that was produced to my office by RPM-Maro, LLC and
              19 RPM-USA, LLC in the Eastern District of New York action, In re Application of
              20 City of Almaty for Order to Take Discovery Pursuant to 28 U.S.C. § 1782, 16-mc-
              21 00623-WFK, on January 4, 2017.
              22      5.  Attached hereto as Exhibit 3 (Bates-numbered GE0000005) is a true
              23 and correct copy of a document entitled “Master Final Settlement Statement,”
              24 dated March 15, 2012, regarding property located at 606 N. Alta Drive, Beverly
              25 Hills, CA 90210. This document was produced to my office by Granite Escrow
              26
                 Services in response to a subpoena served in Almaty I.
              27
                        6.    Attached hereto as Exhibit 4 (Bates-numbered GE0000199) is a true
              28
                 and correct copy of a document entitled “AMENDED ESCROW
                       US-DOCS\99489948                                          DELCARATION OF JONATHAN M. JACKSON
ATTORNEYS AT LAW
  LOS ANGELES
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                   1 INSTRUCTIONS,” dated February 8, 2012, regarding property located at 606 N.
                   2 Alta Drive, Beverly Hills, CA 90210. This document was produced to my office
                   3 by Granite Escrow Services in response to a subpoena served in Almaty I.
                   4       7.    Attached hereto as Exhibit 5 (Bates-numbered GE0000327-28) is a
                   5 true and correct copy of a document regarding a “wire” in the amount of
                   6 $163,492.50, dated December 30, 2011, regarding property located at 606 N. Alta
                   7 Drive, Beverly Hills, CA 90210. This document was produced to my office by
                   8 Granite Escrow Services in response to a subpoena in Almaty I.
                   9            8.        Attached hereto as Exhibit 6 (Bates-numbered GE0000329-30) is a
              10 true and correct copy of a document regarding a “wire” in the amount of
              11 $5,366,212.53, dated March 15, 2012, regarding property located at 606 N. Alta
              12 Drive, Beverly Hills, CA 90210. This document was produced to my office by
              13 Granite Escrow Services in response to a subpoena in Almaty I.
              14                9.        Attached hereto as Exhibit 7 (Bates-numbered GE0000707-708) is a
              15 true and correct copy of a document regarding a “wire” in the amount of
              16 $5,997,956.15, dated January 18, 2013, regarding property located at 628 N. Alta
              17 Drive, Beverly Hills, CA 90210. This document was produced to my office by
              18 Granite Escrow Services in response to a subpoena in Almaty I.
              19                10.       Attached hereto as Exhibit 8 (Bates-numbered GE0000705-706) is a
              20 true and correct copy of a document regarding a “wire” in the amount of
              21 $186,000.00, dated November 30, 2012, regarding a property located at 628 N.
              22 Alta Drive, Beverly Hills, CA 90210. This document was produced to my office
              23 by Granite Escrow Services in response to a subpoena in Almaty I.
              24                11.       Attached hereto as Exhibit 9 (Bates-numbered GE0000580) is a true
              25 and correct copy of a document entitled “Closing/Settlement Statement,” dated
              26
                 January 22, 2013, regarding property located at 628 N. Alta Drive, Beverly Hills,
              27
                 CA 90210. This document was produced to my office by Granite Escrow Services
              28
                 in response to a subpoena in Almaty I.
                       US-DOCS\99489948                                           DECLARATION OF JONATHAN M. JACKSON
ATTORNEYS AT LAW
  LOS ANGELES                                                        2
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                   1            12.       Attached hereto as Exhibit 10 (Bates-numbered GE0000295-301) is a
                   2 true and correct copy of an email chain with the subject line “Fwd: RE: 606 N Alta
                   3 - STATUS UPDATE,” between (among others) Iliyas Khrapunov, Marc Gillieron,
                   4 Zach Goldsmith and Mark Fishman, containing emails dated between December
                   5 23 and 29, 2011. This document was produced to my office by Granite Escrow
                   6 Services in response to a subpoena in Almaty I.
                   7       13. Attached hereto as Exhibit 11 (Bates-numbered GE0000697) is a true
                   8 and correct copy of an email with the subject line “628 N. Alta – Buyer contact
                   9 information,” between (among others) Zach Goldsmith and Mark Fishman, dated
              10 November 26, 2012. This document was produced to my office by Granite Escrow
              11 Services in response to a subpoena in Almaty I.
              12                14.       Attached hereto as Exhibit 12 (Bates-numbered GE0000610) is a true
              13 and correct copy of an email chain with the subject line “RE: 606 N. Alta Drive,”
              14 between (among others) Zach Goldsmith and Mark Fishman, dated January 11,
              15 2013. This document was produced to my office by Granite Escrow Services in
              16 response to a subpoena in Almaty I.
              17                15.       Attached hereto as Exhibit 13 is a true and correct copy of Defendant
              18 Iliyas Khrapunov’s Response to Plaintiff City of Almaty’s Second Set of
              19 Interrogatories. These responses were served on Almaty on November 17, 2017.
              20                16.       Attached hereto as Exhibit 14 is a true and correct copy of Defendant
              21 Madina Ablyazova’s Response to Plaintiff City of Almaty’s Second Set of
              22 Interrogatories. These responses were served on Almaty on November 17, 2017.
              23                17.       Attached hereto as Exhibit 15 is a true and correct copy of Defendant
              24 Viktor Khrapunov’s Response to Plaintiff City of Almaty’s Second Set of
              25 Interrogatories. These responses were served on Almaty on November 17, 2017.
              26
                                18.       Attached hereto as Exhibit 16 is a true and correct copy of Defendant
              27
                        Leila Khrapunov’s Response to Plaintiff City of Almaty’s Second Set of
              28
                        Interrogatories. These responses were served on Almaty on November 17, 2017.
                       US-DOCS\99489948                                             DECLARATION OF JONATHAN M. JACKSON
ATTORNEYS AT LAW
  LOS ANGELES                                                         3
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                   1            19.       Attached hereto as Exhibit 17 is a copy of Viktor’s personal website,
                   2 detailing biographical information. It is publically available here at:
                   3 http://www.viktorkhrapunov.com/en/biography/.
                   4            20.       Attached hereto as Exhibit 18 is a true and correct copy of an email
                   5 exchange initiated by Lara Kollios, counsel for Defendants in this matter, dated
                   6 February 7, 2018, in which she asked whether Plaintiff had an objection to
                   7 Defendants filing an oversized brief of 34 pages, to which I responded that we
                   8 could agree to up to five additional pages, but nothing beyond that.
                   9            21.       Attached hereto as Exhibit 19 is a true and correct copy of excerpts
              10 from the deposition of Elvira Kudryashova as the person most knowledgeable for
              11 RPM-Maro LLC on May 25, 2017, in the Eastern District of New York action, In
              12 re Application of City of Almaty for Order to Take Discovery Pursuant to 28
              13 U.S.C. § 1782, 16-mc-00623-WFK.
              14                I declare under penalty of perjury under the laws of the United States of
              15 America that the foregoing is true and correct.
              16      Executed in Los Angeles, California on March 8, 2018.
              17                                                       By   /s/ Jonathan M. Jackson
              18                                                            Jonathan M. Jackson
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                       US-DOCS\99489948                                              DECLARATION OF JONATHAN M. JACKSON
ATTORNEYS AT LAW
  LOS ANGELES                                                          4
